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                          UNITED STATES COURT OF APPEALS                        FILED
                                 FOR THE NINTH CIRCUIT                           MAY 22 2019
                                                                            MOLLY C. DWYER, CLERK
                                                                              U.S. COURT OF APPEALS
   JENNY LISETTE FLORES,                              No.    18-56596

                      Plaintiff-Appellee,             D.C. No.
                                                      2:85-cv-04544-DMG-AGR
     v.                                               Central District of California,
                                                      Los Angeles
   MATTHEW G. WHITAKER, Acting
   Attorney General of the United States; et al.,     ORDER

                      Defendants-Appellants.

            Appellants’ unopposed motion (Docket Entry No. 11) for voluntary

   dismissal of this appeal is granted. This appeal is dismissed. See Fed. R. App. P.

   42(b).

            This order served on the district court shall act as and for the mandate of this

   court.




                                                       FOR THE COURT:

                                                       MOLLY C. DWYER
                                                       CLERK OF COURT


                                                       By: Linda K. King
                                                       Deputy Clerk
                                                       Ninth Circuit Rule 27-7




   LK/Pro Mo
